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Exhibit F
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S SIDLEY AUSTIN LLP SIDLEY AUSTIN LLP BEIJING NEW YORK

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November 12, 2010

VIA EMAIL

David M. Zensky, Esq.

Akin Gump Strauss Hauer & Feld LLP
One Bryant Park

New York, New York 10036

Re: Re: Inre Tribune Company, et al, Case No. 08-13141 (Bankr. D. Del. (KJC)

Dear David:

This is in response to your letter dated November 10, 2010 requesting that we address the
Debtors’ position concerning the admissibility at the confirmation hearing of the Examiner’s
Report.

As is clear from the Debtors’ pending procedures motion, the relief that the Debtors have
requested is that the Court bar further fact discovery concerning the LBO-Related Causes of
Action on the grounds that the record compiled by the parties as a result of the discovery already
taken to date, when coupled with the work done by the Examiner, is more than sufficient to
assess the reasonableness of the various settlements. The Debtors did not ask the Court in their
motion to rule on the admissibility of the Examiner’s Report.

That being said, the Debtors agree that this is a subject that will need to be addressed and
are certainly agreeable to beginning that dialogue at next week’s meet and confer. While the
Debtors have not come to a position as to the admissibility of the Report or the weight, if any, to
be accorded to specific statements or opinions in the Report, the Debtors note that the Court has
already indicated that the Examiner’s Report would “probably inform not just the parties, but the
Court about the scope ... of the confirmation hearing.” 7/10/10 Tr. at 44-45. The Debtors also
note that determinations of admissibility or weight could vary depending, among other things, on
the nature of the specific statement or opinion, the nature of its underlying factual or legal
support and the purpose for which it is being offered.

Sidley Austin LLP is a limited Hiability pernership practicing in affiliation with other Sidley Austin partnerships
To facilitate discussion of this issue at next week’s meet and confer I am circulating this
email as well as your letter to the other parties that have expressed interest in participating in the
meet and confer. If you have any questions, concerning the foregoing, please give me a call.

Very truly yours,

s F. Bendernagel Jr.

JFB:fpw

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Case 08-13141-BLS Doc 6558-6 Filed 11/22/10 Page 4 of 10

AKIN GUMP
STRAUSS HAUER & FELDLLP

Attomeys at Law

DAVID M. ZENSKY
212.872.1075/1.212.872.1002
dzensky@akingump.com

November 10, 2010

VIA E-MAIL

James Bendernagel, Jr.
Sidley Austin LLP

1501 K. Street, N. W.
Washington, D.C. 20005

Re: In re Tribune Company, et al., Case No. 08-1314] (Bankr. D. Del.) (KIC)

Dear Jim:

As you know, we are counsel to Aurelius Capital Management, LP. In your recently filed
Motion of the Debtors for an Order, among other things, setting the confirmation schedule and
establishing parameters of confirmation-related discovery (“Motion”), the Debtors seek to have
the Court foreclose discovery into the LBO-related causes of action. This request appears to be
premised on “the exhaustive investigations already conducted and the extensive record already
developed” in the Examiner’s Report. See Motion at ]69. Implicit in the Debtors’ position is
that you expect that the Examiner’s Report to be admissible and will play a major role in the
upcoming confirmation hearing. However, your Motion does not in any way address what the
Debtors and their co-Plan proponents’ position is with regard to the use and admissibility of the
Examiner’s Report at the hearing.

Please provide us with your position by Friday, November 12, 2010 so that we may
adequately prepare for our meet and confer call next Tuesday.

ce: Danny Golden, Esq.

One Bryant Park / New York, New York 10036 / 212.872.1000 / fax: 212.872.1002 / akingump.com
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DRAFT

PRIVILEGED & CONFIDENTIAL
JOINT DEFENSE COMMUNICATION
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
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: Chapter 11
In re: :
: Case No. 08-13141 (KJC)
TRIBUNE COMPANY, et al., :

(Jointly Administered)
Debtors. :
: Re: Docket No. 5680

DISCOVERY AND SCHEDULING ORDER FOR PLAN CONFIRMATION

A hearing (the “Confirmation Hearing”) on the possible confirmation of the plans
of reorganization proposed for the Debtors is scheduled to commence on or about March
[--], 2010 before the Honorable Kevin J. Carey, Chief United States Bankruptcy Judge,
United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th
Floor, Courtroom No. 5, Wilmington DE 19801. Pursuant to Bankruptcy Code section
105(a) and (d), Federal Rules of Bankruptcy Procedures 9006 and 9014, and Federal Rule
of Civil Procedure 43(e), the following schedule is established for purposes of discovery
and other pre-trial matters in respect to the Confirmation Hearing.

IT IS HEREBY ORDERED as follows:

1. For purposes of compliance with certain aspects of this Order as specifically set
forth below (but for no other purposes), each party-in-interest (a ““Party”) that is a
proponent or co-proponent of one of the four plans of reorganization that have
been filed in connection with the above captioned cases (a “Plan Proponent

Party”) shall be grouped with any other proponents of that plan (each such group
a “Proponent Group”).
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. Each Plan Proponent Party will use its reasonable best efforts to cooperate and
coordinate with all other Plan Proponent Parties within its Proponent Group to,
whenever possible, avoid unnecessary duplication, expense and delay.

FACT DISCOVERY
. All fact discovery shall be completed no later than February 4, 2011.

. Each Plan Proponent Party shall have the right to serve fact discovery requests no
earlier than December 3, 2010.

. Counsel of record for each Plan Proponent Party agrees to accept service via
email of any requests for production of documents, document subpoenas,
deposition notices, or deposition subpoenas on behalf of such Plan Proponent
Party and its constituent members, employees, officers, or directors, and any of
their respective current legal, financial, or other advisors, provided however, that
in the case of the Official Committee of Unsecured Creditors (the “Committee”),
service on counsel to the Committee shall constitute service only on the
Committee in its capacity as such and not on individual members of the
Committee.

. Written objections and responses to any document requests or subpoenas shall be
served within ten (10) business days of service of such requests.

. All Parties shall make their good faith, best efforts to complete production of all
responsive documents and information within the later of thirty (30) calendar
days after service of such requests, or twenty (20) calendar days after resolution
of any discovery dispute respecting such requests pursuant to paragraph 11 of
this Order, Parties shall produce documents on a rolling basis whenever
practicable. Parties shall not be required to produce any documents or materials
protected from production by either the Mediation Order (Dkt. #5591) or the
Document Depository Order (Dkt. #2858). Furthermore, in the absence of good
cause shown, no Party shall be required to produce a privilege log in connection
with any productions made pursuant to this Order.

. Written objections and responses to interrogatories shall be served within thirty
(30) calendar days of service of such requests. Requests for admissions shall not
be permitted.

. Each Proponent Group shall have the right to notice a total of ten (10) fact
depositions. Fact depositions may commence on or after December 3, 2010, and
shall be conducted in accordance with Rule 30 of the Federal Rules of Civil
Procedure and Bankruptcy Rule 7030.
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10. Depositions will be coordinated so that witnesses who are noticed/subpoenaed by

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one or more Proponent Groups shall be simultaneously deposed by such
Proponent Groups and by any other Party wishing to question the witness.
Counsel for any Party wishing to participate in depositions shall make an
attorney available to attend weekend depositions in the event weekend
depositions become necessary or appropriate as a result of scheduling issues.

With respect to any discovery dispute that may arise, the Parties to the dispute(s)
shall meet and confer within (3) business days of any Party’s request for such a
meet and confer conference. If the Parties are unable to resolve their dispute(s),
such Parties may seek Court intervention utilizing the following procedure in lieu
of the procedures contained in Rule 7026-1 of the Local Rules for the United

States Bankruptcy Court, District of Delaware:

a. asingle Party to the dispute shall deliver to the Court and serve all Plan

Proponent Parties (and any other Party requesting service) via email a
single letter that shall be no longer than three (3) typewritten pages,
identifying the relief requested and the basis thereof (the “Initial Letter”);

. within three (3) business days after receipt of such Initial Letter, each

Party to whom the Initial Letter is directed shall deliver to the Court and
serve all Plan Proponent Parties (and any other Party requesting service)
via email a letter that shall be no longer than three (3) typewritten pages,
responding to the Initial Letter (the “Response Letter”);

. there shall be no additional submissions regarding any discovery dispute

other than as set forth above, unless otherwise directed by the Court;

. the Court may schedule an in-person or telephonic hearing to decide any

or all of the issues raised in the Initial Letter and/or Response Letter,
and/or direct further briefing on any issue.

12. Any Party who is not a Plan Proponent Party shall have the right to participate in

fact discovery conducted by any Plan Proponent Party by participating in any
depositions and by receiving copies of any all fact discovery responses and
objections and productions. Any Party who is not a Plan Proponent Party may
also seek leave of the Court for good cause shown to serve and conduct fact
discovery; if such leave is granted, such Party will be subject to all provisions of
this Order relating to fact discovery that are applicable to Plan Proponent Parties.
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EXPERT DISCOVERY
All expert discovery shall be completed no later than March 1, 2011.

Each Plan Proponent Party shall have the right to identify and utilize expert
witnesses in connection with the Confirmation Hearing. The Plan Proponent
Parties will meet and confer in good faith regarding a reasonable number of
expert witnesses per Proponent Group. Nothing herein shall preclude any Plan
Proponent Party from seeking appropriate relief from the Court with respect to
the number of expert witnesses and the scope of any expert testimony.

All Plan Proponent Parties shall disclose the identity of any expert witness they
may use to present evidence in their case-in-chief under Federal Rules of
Evidence 702, 703 or 705 on or prior to January 14, 2011, and shall provide a
written summary of the topics that each such witness is expected to address at the
Confirmation Hearing. These written disclosures are for notification purposes
only and need not comply with Bankruptcy Rule 7026 and Federal Rule of Civil
Procedure 26(a)(2)(B).

All Plan Proponent Parties shall comply with the requirements of Bankruptcy
Rule 7026 and Federal Rule of Civil Procedure 26(a)(2)(B) with respect to
experts (i.e., the deadline for the filing of written expert reports with the
Bankruptcy Court) on or prior to January 21, 2011.

All Plan Proponent Parties shall disclose the identity of any expert witness they
may use as rebuttal experts on or prior to February 8, 2011, and shall provide a
written summary of the topics that each such witness is expected to address at the
Confirmation Hearing. These written disclosures are for notification purposes
only and need not comply with Bankruptcy Rule 7026 and Federal Rule of Civil
Procedure 26(a)(2)(B).

All Plan Proponents shall comply with the requirements of Bankruptcy Rule
7026 and Federal Rule of Civil Procedure 26(a)(2)(B) with respect to rebuttal
experts (i.e., the deadline for the filing of written expert reports with the
Bankruptcy Court) on or prior to February 15, 2011.

Expert depositions may commence on or after February 22, 2011.

No Plan Proponent Party shal! be required to produce in expert discovery any
draft reports (including drafts of any materials, charts, illustrative documents, or
exhibits prepared by the expert, any person working under the expert’s
supervision, or the Plan Proponent Party and its counsel) or communications
between such expert and counsel related to the expert’s report or declaration.
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21. Any Party who is not a Plan Proponent Party shall have the right to participate in
expert discovery conducted by any Plan Proponent Party by participating in any
depositions and by receiving copies of any all expert-related document
production and disclosures. Any Party who is not a Plan Proponent Party may
also seek leave of the Court for good cause shown to identify and utilize expert
witnesses in connection with the Confirmation Hearing; if such leave is granted,
such Party will be subject to all provisions of this Order relating to expert
discovery that are applicable to Plan Proponent Parties.

PRE-TRIAL SUBMISSIONS

22. As set forth in the Court’s Solicitation Procedures Order, each Proponent Group
shall have the right to file and serve a single Objection in response to any plans
of reorganization on February 11, 2011.

23. Each Proponent Group shall have the right to file a single brief in support of
confirmation of its respective plan and in response to the Objections of other
Proponent Groups on February 25, 2011.

24. A Joint Pretrial Memorandum, along with any other documents required by the
Chambers Procedures for the Honorable Kevin J. Carey, shall be filed with the
Court by 4:00 p.m. (prevailing Eastern time) on March 2, 2011.

25. No other briefing in support of or in opposition to any of the Plans shall be
permitted in connection with the Confirmation Hearing, except as directed by the
Court.

MISCELLANEOUS

26, The terms of the Document Depository Order (Dkt. #2858) shall apply to all
discovery propounded pursuant to this Order.

27. Upon good cause shown, and on notice to all Parties, any Party may seek to have
this Order modified by the Court.

28. Nothing in this Order shall affect or prejudice the right of any Party to make any
application to the Court with respect to the scope, timing, duration and character
of the Confirmation Hearing.

29. This Court shal! retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

SO ORDERED:
Date: , 2010

HONORABLE KEVIN J. CAREY
Chief United States Bankruptcy Judge
